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                   IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MONTANA
                              BILLINGS DIVISION


 UNITED STATES OF AMERICA,                            CR23-99-BLG-SPW


                 Plaintiff,                          PRELIMINARY ORDER
                                                       OF FORFEITURE
           vs.



 JEFFERY JAMES BLANKENSHIP,

                 Defendant.



      THIS matter comes before the Court on the United States' Unopposed

Motion for Preliminary Order of Forfeiture(Doc. 23). Defendant Jeffery James

Blankenship entered a plea in open court that provides a factual basis and cause to

issue a forfeiture order under 18 U.S.C. § 924(d).

      IT IS ORDERED:


      THAT Defendant Blankenship's interest in the following property is

forfeited to the United States in accordance with 18 U.S.C. § 924(d):

     • Mauser, model 98k,8 mm bolt action rifle, serial number 1631;

     • Mosin Nagant Russia, model M44,7.62x54R caliber bolt action rifle,

         serial number 44-2383;
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